              IN THE UNITED STATES DISTRICT COURT
             F O R T H E M I D D L E D I S T R I C T O F T E N N E S S E E Motion GRANTED.
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
vs.                                             )      NO. 3:14-cr-00179-08
                                                )      JUDGE TRAUGER
ANTONIO WITHERSPOON                             )


                         ________________________________

                       MOTION TO CONTINUE TRIAL
                        ________________________________



      Defendant ANTONIO WITHERSPOON, through counsel Kenneth Quillen,

moves the Court to continue the trial which is set for May 19, 2015.

      Defendant Witherspoon would show the Court:

      1. He was arraigned today, May 13, 2015.

      2. Panel Attorney Kenneth Quillen was appointed to represent him.

      3. Attorney Kenneth Quillen cannot be ready for trial on May 19, 2015.


      Assistant United States Attorney Lynne Ingram is unavailable today.



                                  Respectfully submitted,

                                  s/ Kenneth D. Quillen
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